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 1   [COUNSEL LISTED IN SIGNATURE BLOCK]

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                               IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                      SAN FRANCISCO DIVISION
11
     CENTER FOR BIOLOGICAL DIVERSITY, )                  Case No. CV-11-0293-JCS
12   et al.,                               )
                                           )
13               Plaintiffs,               )             JOINT STATUS REPORT
                                           )
14           v.                            )             Magistrate Judge Joseph C. Spero
                                           )
     U.S. ENVIRONMENTAL PROTECTION         )
15   AGENCY, et al.,                       )
                                           )
16                Defendants,              )
                                           )
17   CROPLIFE AMERICA, et al.,             )
                                           )
                  Defendant-Intervenors.   )
18
     _____________________________________ )
19

20          Plaintiffs, Federal Defendants, and Defendant-Intervenors, by and through undersigned counsel,

21   (collectively, the “Parties”) submit this Joint Status Report pursuant to the commitments made in their

22   Joint Status Report filed on June 13, 2022, in which they agreed to “provide the Court with status reports

23   regarding the progress of this case on September 15, 2022 and December 15, 2022.” ECF No. 393.

24          While the Parties have not yet reached a settlement regarding the remaining active ingredients

25   and pesticide products listed in the Fourth Amended Complaint (Claims One to Three, Five, Eight, Ten,
     ____________________________________________________________________________________
     JOINT STATUS REPORT                                                                       1
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 1   Thirteen to Eighteen, Twenty to Twenty-Nine, and Thirty-One to Thirty-Three) (“Remaining Claims”),

 2   they have continued to make progress in their ongoing settlement discussions. Since filing their last joint

 3   status report, the following settlement conferences and proposals have brought the Parties closer to

 4   reaching a potential settlement agreement:

 5           •   On July 14, 2022, Plaintiffs provided a settlement proposal to Federal Defendants and

 6               Defendant-Intervenors, which proposed an alternative approach to resolving the Remaining

 7               Claims than that set forth Federal Defendants’ May 13, 2022 settlement proposal.

 8           •   On July 22, counsel for the Parties had a teleconference to discuss Plaintiffs’ July 14

 9               settlement proposal.

10           •   On July 28, counsel for the Parties, along with several staff members from the

11               Environmental Protection Agency’s (EPA’s) Office of Chemical Safety and Pollution

12               Prevention (OCSPP), had a settlement conference in which they continued discussions

13               regarding Plaintiffs’ July 14 proposal.

14           •   On September 2, Federal Defendants provided a settlement counterproposal to Plaintiffs and

15               Defendant-Intervenors, which responded to Plaintiffs’ July 14 settlement proposal.

16           •   On September 8, counsel for the Parties had another settlement conference, in which they
17               discussed Federal Defendant’s September 6 settlement counterproposal.
18          Further, the Parties have a settlement meeting scheduled for September 19 in Washington, D.C.,
19   which EPA’s Assistant Administrator for OCSPP plans to attend.
20          Given the Parties’ progress in their ongoing settlement discussions, they continue to believe that,
21   at this time, the assistance of a mediator is not necessary, and that the current administrative closure of
22   the case and/or stay of the Remaining Claims (set to expire on December 15) is beneficial. Should the
23   Parties determine that the assistance of a mediator is needed prior to their December 15 status report,
24   they will notify the Court.
25
     ____________________________________________________________________________________
     JOINT STATUS REPORT                                                       2
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 1          Pursuant to the commitments made in their June 13, 2022 Joint Status Report, ECF No. 393, the

 2   Parties will provide another joint status report to the Court on December 15. Additionally, pursuant to

 3   the Clerk’s Notice Setting Zoom Hearing filed on June 13, 2022, ECF No. 396, the Parties will appear

 4   for a case management conference by videoconference on December 16.

 5                  Respectfully submitted this 15th day of September, 2022,

 6
                                                          /s/ Stephanie M. Parent
 7                                                        Stephanie M. Parent (OR Bar No. 925908)*
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 9                                                        sparent@biologicaldiversity.org

10                                                        Jonathan Evans
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11                                                        Oakland, CA 94612
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12                                                        jevans@biologicaldiversity.org

13                                                        Attorneys for Plaintiffs
                                                          AND
14
                                                          /s/ Michelle M. Spatz
15                                                        MICHELLE M. SPATZ, Trial Attorney
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17                                                        Wildlife and Marine Resources Section
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19
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24
                                                          AND
25
     ____________________________________________________________________________________
     JOINT STATUS REPORT                                                       3
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 5
                                               Attorneys for CropLife America, et al.
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     JOINT STATUS REPORT                                                       4
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 1                                       CERTIFICATE OF SERVICE

 2          I hereby certify that today a true and correct copy of the foregoing Joint Status Report was filed

 3   with the Court’s CM/ECF system, which will generate electronic service on all counsel of record.

 4

 5                                                        /s/ Michelle M. Spatz
                                                          MICHELLE M. SPATZ
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     JOINT STATUS REPORT                                                       5
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